Case 20-30663-5-wak           Doc 151 Filed 10/08/20 Entered 10/08/20 13:46:19                     Desc
                                Main Document     Page 1 of 2




                     IN THE UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF NEW YORK
                                SYRACUSE DIVISION

__________________________________________________

In re:
                                                                 Case No.: 20-30663
The Roman Catholic Diocese of Syracuse, New York,                Chapter 11

                        Debtor.
__________________________________________________


                      NOTICE OF APPEARANCE AND REQUEST FOR
                          NOTICE AND SERVICE OF PAPERS


         PLEASE TAKE NOTICE that the undersigned appears for Hartford Fire Insurance

 Company (“Hartford”), pursuant to Federal Rules of Bankruptcy Procedure (“Bankruptcy Rules”)

 2002(g) and 2002(h), 9007 and 9010(b) and § 1109(b) of the Bankruptcy Code, demand that all

 notices that are required to be given in this case and all papers that are required to be served in this

 case, be given to and served upon the undersigned pursuant to Bankruptcy Rule 2002(g) at the

 office, post office address and telephone number set forth below.



         PLEASE TAKE FURTHER NOTICE that pursuant to § 1109(b) of the Bankruptcy

 Code, the foregoing demand includes not only the notices and papers referred to in the Rules

 specified above, but also includes, without limitation, orders and notices of any application,

 motion, petition, pleading, request, complaint or demand, whether formal or informal, whether
Case 20-30663-5-wak         Doc 151 Filed 10/08/20 Entered 10/08/20 13:46:19                 Desc
                              Main Document     Page 2 of 2



written or oral, whether transmitted or conveyed by mail, delivery, telephone, telegraph, telex or

otherwise which affect to seek to affect in any way of the Hartford’s rights or interests.



Dated: October 8, 2020
                                  Yours, etc.




                                  Sam A. Elbadawi, Esq.
                                  Bar Roll No.: 501411
                                  SUGARMAN LAW FIRM, LLP
                                  Local Counsel for Hartford Fire Insurance Company
                                  Office and Post Office Address
                                  211 West Jefferson Street, Suite 20
                                  Syracuse, New York 13202
                                  Telephone: (315) 474-2943
                                  selbadawi@sugarmanlaw.com

                                  James P. Ruggeri (pro hac vice forthcoming)
                                  Joshua D. Weinberg (pro hac vice forthcoming)
                                  Michele Backus Konigsberg (pro hac vice forthcoming)
                                  Attorneys for Hartford Fire Insurance Company
                                  Shipman & Goodwin LLP
                                  1875 K Street, NW, Suite 600
                                  Washington, DC 20003
                                  Tel: (202) 469-7750
                                  Fax: (202) 469-7751
                                  E-mail: jruggeri@goodwin.com
                                           jweinberg@goodwin.com
                                           mbackus@goodwin.com
